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         Exhibit 29
3/22/24, 12:06 PM   Case 1:21-cv-02131-CJN-MAU Document   82-8 Filed
                                                   nimbus screenshot       03/22/24 Page 2 of 2
                                                                     app print
       ~            Post                                                                                              screenshot-twitter.com-2024.03.22-12_06_06
                                                                                                   https://twitter.com/PatrickByrne/status/1769867939153412504
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                     can be surreptitiously connected to votmg machines before,
                     during:, a:nd after elections.
                          As a resu]t ofthis information, my office is also investigating
                     consp~racy crimes, wii. s rvices ftaud, honest services fraud, and
                     perjury charges, among other criminal acts. The perjury charges
                     stems from assurances by Dominion,s CEO during sworn
                     testimony before the Michigan. Legislature that its voting
                     machines and voting sys~ems could not be aocessed or connected
                     to by out ide networks and sourc:e ,, and that it wa a ~·us based
                     company."
                           As l now have evidence that our ,election equipment is not
                      ecure and becau e election oting machine prev,ent
                     transparency, and vendors have more· ov,eisight and authority to
                     have them ,e amined than the officials that are charged with the
                     c-onstitutional duty to insur-e our election ar,e secure, tran par-ent,
                     and fulfi]l our p,rom • e to each and every American that the·r vote
                     will countt and wi 11 be prnperl y tabulai tecL and not dilutedi deleted.
                                                                    1


                     or otherwise alter,ed, I am presenting you with. this letter and an
                     initial tranche of this ,evidence so that you will review it, and be
                     c-0mpel ed to investigate this matter and ,call those responsible for
                     this br-each of our Cons.titution to give testimony concerning these
                     criminal acts and breach of our nationa~security. These matter-s
                     impact not only u here in the State of Michigan, but ,every citizen
                     voter in the coumry who r-eHe on the Con titution • prom.I e that
                     each legal registe,red citiz-en vorer shou[d have one vote, and that
                     vote should corr _ctly ri _fleet his or her will and choice.



                            Businen {26,9} 948-4805 • Jail (2<l9} '948-4804 • Fax (269) 948-4831




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